Case 1:25-cv-00328-JMC _ Doc
CIVIL
JS-44 (Rev. 11/2020 DC)

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Page 1 of 2

L. (a) PLAINTIFFS

Doe 1-4, and Jane Doe 1-3

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF

Federal Bureau of Investigations Agents Association, John

DEFENDANTS

America

(EXCEPT IN U.S, PLAINTIFF CASES)

NOTE: IN LAND CONDEMNATION CASES,

United States Department of Justice & the United States of

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(IN U.S. PLAINTIFF CASES ONLY)

ISE THE LOCATION OF THE TRACT OF LAND INVOLVED

(c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER)

Mark Zaid,Law Office of Mark S. Zaid, P.C.
4250 Connecticut Avenue, N.W., Suite 700
Washington, D.C. 20036

Ph: (202) 498-0011

ATTORNEYS (IF KNOWN)

II. BASIS OF JURISDICTION
(PLACE AN x INONEBOX ONLY)

O 3 Federal Question
(U.S. Government Not a Party)

oO 4 Diversity
(Indicate Citizenship of
Parties in item IIT)

1 US. Government
Plaintiff

© 2 U.S. Govemment
Defendant

Citizen of this State

Citizen of Another State

Citizen or Subject ofa
Foreign Country

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x INONEBOX FOR
PLAINTIFF ANDONE BOX FOR DEFENDANT) FOR DIVERSITY CASESONLY!

PTF

©

DFT

Incorporated or Principal Place

PTF

O;

DFT

O4

of Business in This State

Oo O

Incorporated and Principal Place O 5

O5

of Business in Another State

Oo O

Foreign Nation

Os Ov

IV. CASE ASSIGNMENT AND NATURE OF SUIT
(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

O A. Antitrust |OQ B. Personal Injury/

Malpractice

Cc] 410 Antitrust io 310 Airplane

[_] 315 Airplane Product Liability

[-_] 320 Assault, Libel & Slander

[es] 330 Federal Employers Liability

CI 340 Marine

[__] 345 Marine Product Liability

[1350 Motor Vehicle

[1] 355 Motor Vehicle Product Liability

[_] 360 Other Personal Injury

[_] 362 Medical Malpractice

[J 365 Product Liability

Ez] 367 Health Care/Pharmaceutical
Personal Injury Product Liability

[__] 368 Asbestos Product Liability

© C. Administrative Agency
Review

[__] 151 Medicare Act

Social Security

[__] 861 HIA (1395ff)

[_] 862 Black Lung (923)

fe] 863 DIWC/DIWW (405(g))

(] 864SSID Title XVI

L_] 865 RSI (405(2))

Other Statutes

(J 891 Agricultural Acts

CJ] 893 Environmental Matters

[_] 890 Other Statutory Actions (If
Administrative Agency is
Involved)

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category

may be selected for this category of

case assignment.

*(If Antitrust, then A governs)*

O F. Pro Se General Civil

O E. General Civil (Other) OR

Real Property Bankruptcy

[] 210 Land Condemnation [_] 422 Appeal 28 USC 158
[_] 220 Foreclosure (__] 423 Withdrawal 28 USC

[__] 230 Rent, Lease & Ejectment
[_]240 Torts to Land

(] 245 Tort Product Liability
[] 290 All Other Real Property

Prisoner Petitions
535 Death Penalty
540 Mandamus & Other
[-] 550 Civil Rights
Personal Property EJ 555 Prison Conditions
[__]370 Other Fraud
(_]371 Truth in Lending
CI 380 Other Personal Property
Damage
CI 385 Property Damage
Product Liability

of Confinement

Pr rty Rights
1820 Copyrights

[_] 830 Patent

Drug Application
CI $40 Trademark
[_] 880 Defend Trade Secrets
2016 (DTSA)

[1] 560 Civil Detainee — Conditions

Eg 835 Patent — Abbreviated New

[__] 870 Taxes (US plaintiff or
defendant)

[__] 871 IRS-Third Party 26 USC
7609

157

Forfeiture/Penalty
[__] 625 Drug Related Seizure of

Property 21 USC 881
[__] 690 Other

Other Statutes

[__] 375 False Claims Act

[_] 376 Qui Tam (31 USC
3729(a))

[__] 400 State Reapportionment

Cc] 430 Banks & Banking

[__] 450 Commerce/ICC Rates/etc

[__] 460 Deportation

[__] 462 Naturalization
Application

Act of

[1] 465 Other Immigration Actions

[__] 470 Racketeer Influenced
& Corrupt Organization

Fe 480 Consumer Credit

Cc) 485 Telephone Consumer
Protection Act (TCPA)

[] 490 Cable/Satellite TV

[__] 850 Securities/Commodities/
Exchange

[_] 896 Arbitration

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[_] 950 Constitutionality of State
Statutes

[__]890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

Case 1:25-cyv-003

CL] 530 Habeas Corpus — General

CI 510 Motion/Vacate Sentence

[J 463 Habeas Corpus — Alien
Detainee

442 Civil Rights - Employment
(criteria: race, gender/sex,
national origin,

religion, retaliation)

*(If pro se, select this deck)*

discrimination, disability, age,

Cc] $95 Freedom of Information Act
[J] 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

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© G. Habeas Corpus/ H. Employment © 1. FOIA/Privacy Act © J. Student Loan
2255 Discrimination

C_] 152 Recovery of Defaulted
Student Loan
(excluding veterans)

© K. Labor/ERISA
(non-employment)

[__]710 Fair Labor Standards Act
(__] 720 Labor/Mgmt. Relations
(__] 740 Labor Railway Act
(1751 Family and Medical

Leave Act
[__] 790 Other Labor Litigation
(-]791 Empl. Ret. Inc. Security Act

O L. Other Civil Rights
(non-employment

(__]441 Voting (if not Voting Rights
Act)

[_] 443 Housing/ Accommodations

[1440 Other Civil Rights

[__]445 Americans w/Disabilities —
Employment

[_]446 Americans w/Disabilities —

© M. Contract

Cc) 110 Insurance
[_] 120 Marine
[_] 130 Mitler Act
140 Negotiable Instrument
150 Recovery of Overpayment
& Enforcement of
Judgment

O N. Three-Judge
Court

[_] 441 Civil Rights - Voting
(if Voting Rights Act)

[J 153 Recovery of Overpayment
of Veteran’s Benefits

[_] 160 Stockholder’s Suits

Cc] 190 Other Contracts

[_] 195 Contract Product Liability

[__] 196 Franchise

Other
[_]448 Education

V. ORIGIN
© 1 Original oO 2 Removed oO 3 Remanded oO 4 Reinstated oO 5 Transferred oO 6 Multi-district oO 7 Appeal to oC 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation —
Court Court district (specify) from Mag. Direct File
Judge

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
Violations of The Privacy Act of 1974 (5 U.S.C. § 552a) and the First and Fifth Amendments to the U.S. Constitution.

VII. REQUESTED IN CHECKIF THIS IS A CLASS DEMAND $ Check YES only if demanded in complaint
COMPLAINT ASAE EES JURY DEMAND: YES NO
VIII. RELATED CASE(S) (See instruction) YES [| NO [x | Ifyes, please complete related case form
IF ANY

pate; _ February 4, 2025

fae el
i ;
SIGNATURE OF ATTORNEY OF RECORD f7 es SZ
fe

INSTRUCTIONS FOR COMPLETING CIVIL COVER ea eis
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papersas required
by law, exceptas provided by local rules of court. This form. approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently.a civil cover sheet Is submitted to the Clerk of Court for each civil complaint filed
Listed below are tips for completing the civil coversheet. These tips coincide with the Roman Numerals on the cover sheet.

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

HL. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section II

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment ofa judge to your case will depend onthe category you select that best
represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
nature of suit found under the category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute underwhich youare filing and write a brief statement of the primary cause.

VILL. RELATED CASE(S). IF ANY: Ifyou indicated that there is a related case, you must complete a related case form. which may be obtained from

the Clerk's Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the in formation provided prior to signing the form.
